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                                                                     Monday, 25 March, 2019 10:17:38 AM
                                                                           Clerk, U.S. District Court, ILCD

                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE CENTRAL DISTRICT OF ILLINOIS
                                     AT PEORIA

UNITED STATES OF AMERICA,      )
                               )
                Plaintiff,     )
                               )
vs.                            )
                               )
KASEY R. KENSINGER AND BANK OF )
AMERICA, N.A.,                 )
                               )
                               )                     CIVIL NO. 19-cv-
                               )
                Defendants.    )

                                         COMPLAINT

      Now comes, UNITED STATES OF AMERICA, by and through its attorneys, JOHN C.

MILHISER, United States Attorney for the Central District of Illinois, and Assistant United

States Attorney KIMBERLY A. KLEIN, and for its cause of action alleges that:

      1. This is a civil action brought pursuant to 28 U.S.C. § 1345 to foreclose the hereinafter

            described mortgage or other conveyance in the nature of a mortgage (hereinafter

            called “mortgage”) and to join the following persons as defendants:

                KASEY R. KENSINGER AND BANK OF AMERICA, N.A.

       2.       Attached as Exhibit “A” is a copy of the mortgage (This mortgage has been

                assumed); Exhibit “B” is a copy of the mortgage; Exhibit “C” is a copy of the

                Promissory Note (This note has been assumed); Exhibit “D” is a copy of the

                Assumption Agreement; Exhibit “E” is a copy of the Promissory Note; and

                Exhibit “F” is a copy of the Promissory Note; and Exhibit “G” is the Notice of

                Acceleration.

       3.       Information concerning mortgage:
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    (A).   Nature of instrument:               Mortgage

    (B)    Dates of mortgages:                 Ex. A, May 29, 1996 (This mortgage

                                               has been assumed)

                                               Ex. B, June 17, 2005

    (C)    Names of mortgagors:                Ex. A, Charles R. Ostrom (This

                                               mortgage has been assumed)

                                               Ex. B, Kasey R. Kensinger

    (D)    Name of mortgagee:                  United States of America, United
                                               States Department of Agriculture

    (E)    Date and place of recording:        Ex. A, May 29, 1996
                                               Ex. B, June 17, 2005, Tazewell
                                               County, Illinois

    (F)    Identification of recording:        Ex. A, recorded as Doc. No.
                                               9610695,
                                               Ex. B, recorded as Doc. No.
                                               200500014186,

    (G)    Interest subject to the mortgage:   Fee Simple

    (H)    Amount of original indebtedness,
           including subsequent advances
           made under the mortgage:            $69,501.46

    (I)    Both the legal description of the mortgaged real estate and the common
           address or other information sufficient to identify it with reasonable
           certainty:

           1.     Legal description of the mortgaged premises:

                  A part of Lot 4 in Block 1 of Hall and LaFever S Addition to the
                  Original Village, now City of Delavan, bounded and described as
                  follows, to wit:
                  Beginning at the Southeast corner of said Lot 4 and running thence
                  North 50 feet, thence West 120 feet, thence South 50 feet, thence
                  East 120 feet to the place of beginning, all being situated in the
                  County of Tazewell, in the State of Illinois.
                  Parcel ID#21-21-10-325-010



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          2.      Common address or location of mortgaged premises:

                  809 S Cedar Street, Delavan, Illinois 61734

    (J)   Statement as to defaults and amount now due:

          1.      Date of Default is December 31, 2014.

          2.      Payments which have become due under the secured note are in
                  default and arrears in the total amount of $56,006.30.

          3.      The total amount now due is $100,604.36 as of February 13, 2019,
                  plus interest accrued thereafter, court costs, title costs, and
                  plaintiff’s attorney fees. This amount due includes the total
                  principal and interest due and payable, all outstanding advances
                  and fees charged to the defendant account.

          4.      The per diem interest accruing under the mortgage after default is
                  $11.8926.

    (K)   Name of present owner of the real estate: Kasey R. Kensinger

    (L)   Name or names of persons, in addition to such owners, but excluding any
          non-record claimants as defined in the Illinois Mortgage Foreclosure Law,
          Chapter 735 ILCS, Section 5/15-1210, who are joined as defendants and
          whose interest in or lien on the mortgaged real estate is sought to be
          terminated.

               (1) Bank of America, N.A., by virtue of a Memorandum of Judgment
                   recorded March 26, 2004 as Doc. No. 201400004067.

          Plaintiff’s mortgage constitutes a valid, prior and paramount lien upon the
          indicated interest in the mortgaged real estate, which lien is prior and
          superior to the right, title, interest, claim, or lien of all parties and non-
          record claimants whose interests in the mortgaged real estate are sought to
          be terminated.

    (M)   Names of defendants claimed to be personally liable for deficiency, if
          any:

          Not applicable.




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        (N)     Capacity in which plaintiff brings this foreclosure: as the owner and
                legal holder of said note, mortgage, and indebtedness.

        (O)     Facts in support of shortened redemption period, if sought:

                None at the time of the filing of this complaint. However, should the
                mortgaged real estate become abandoned during the pendency of this
                foreclosure, it is requested that the court make a finding of abandonment
                and shorten the redemption period.

        (P)     Facts in support of request for costs and expenses, if applicable:

                Plaintiff has been required to incur title insurance or abstract costs, and
                other expenses which should be added to the balance secured by said
                mortgage.

        (Q)    Facts in support of a request for appointment of mortgagee in possession
               or for appointment of a receiver, and the identity of such receiver, if
               sought:

               Not applicable.

        (R) Plaintiff does not offer to mortgagor in accordance with Section 15-1402
            to accept title to the real estate in satisfaction of all indebtedness and
            obligations secured by the mortgage without judicial sale.

        (S)    Name or names of defendants whose right to possess the mortgaged real
               estate, after the confirmation of a foreclosure sale, is sought to be
               terminated and, if not elsewhere stated, the facts in support thereof:

                Kasey R. Kensinger


                               REQUEST FOR RELIEF

Plaintiff requests:

          i.    A judgment to foreclosure such mortgage, ordering:

                      a. That an accounting may be taken under the direction of the court
                         of the amounts due and owing to the plaintiff;

                      b. That the defendants be ordered to pay to the plaintiff before
                         expiration of any redemption period (or, if no redemption period,
                         before a date fixed by the court) whatever sums may appear to be
                         due upon the taking of such account, together with fees and costs



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                   of the proceedings (to the extent provided in the mortgage or by
                   law);

               c. That in default of such payment in accordance with the judgment,
                  the mortgaged real estate be sold as directed by the court, to satisfy
                  the amount due to the plaintiff as set forth in the judgment,
                  together with the interest thereon at the statutory judgment rate
                  from the date of judgment.

               d. That in the event the plaintiff is a purchaser of the mortgaged real
                  estate at such sale, the plaintiff may offset against the purchase
                  price of such real estate the amounts due under the judgment of
                  foreclosure and order confirming the sale;

               e. That in the event of such sale and the failure of the person entitled
                  thereto to redeem prior to such sale pursuant to this Article, the
                  defendants made parties to the foreclosure in accordance with this
                  Article, and all non-record claimants given notice of the
                  foreclosure in accordance with this Article, and all persons
                  claiming by, through or under them, and each and any and all of
                  them, may be forever barred and foreclosed of any right, title,
                  interest, claim, lien or right to redeem in and to the mortgaged real
                  estate; and

               f. That if no redemption is made prior to such sale, a deed may be
                  issued to the purchaser thereat according to law and such
                  purchaser be let into possession of the mortgaged real estate in
                  accordance with 735 ILCS, Section 5/15-1701, et. seq.

      ii.   An order granting a shortened redemption period, if authorized by law.

     iii.   A personal judgment for a deficiency, if authorized by law.

     iv.    An order granting possession.

      v.    An order placing the mortgagee in possession or appointing a receiver.

     vi.    A judgment for fees, costs and expenses.

    vii.    Enforcement of its assignment of rents derived from said real estate.

    viii.   Such other relief as equity may require, including, but not limited to,
            declaratory and injunctive relief.


                 ADDITIONAL REQUEST FOR RELIEF



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       Plaintiff also requests that the judgment for foreclosure or other orders entered herein
provide for the following (pursuant to 735 ILCS Section 5/15-1506(f)):

              i.      Judicial sale conducted by the United States Marshal or his
                      representative, at which the plaintiff is entitled to bid;

            ii.       Title in the real estate may be subject, at the sale, to exceptions
                      including general real estate taxes for the current year and for the
                      preceding year which have not become due and payable as of the date of
                      entry of the judgment of foreclosure, any special assessments upon the
                      real estate, and easements and restrictions of record.

            iii.      In the event a party to the foreclosure is a successful bidder at the sale,
                      such party shall be allowed to offset against the purchase price to be paid
                      for such real estate amounts due such party under the judgment of
                      foreclosure or order confirming the sale.

                                            UNITED STATES OF AMERICA, Plaintiff

                                            JOHN C. MILHISER
                                            UNITED STATES ATTORNEY




                                            s/Kimberly A. Klein, IL Bar No. 6230077
                                            Attorney for Plaintiff
                                            United States Attorney’s Office
                                            One Technology Plaza
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                                            Peoria, Illinois 61602
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                                                           Clerk, U.S. District Court, ILCD




EXHIBIT A
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                                                                   CIVIL Page
                                                                         COVER     SHEET
                                                                              1 of 2                                                                                    E-FILED
                                                                                                                               Monday, 25 March, 2019 10:17:38 AM
                                          (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)
                                                                                                                                     Clerk, U.S. District Court, ILCD
I. (a) PLAINTIFFS                                                                                 DEFENDANTS



  (b)
                         (EXCEPT IN U.S. PLAINTIFF CASES)                                                                      (IN U.S. PLAINTIFF CASES ONLY)




  (c)           (Firm Name, Address, and Telephone Number)                                                     (If Known)




II. BASIS OF JURISDICTION (Place an “X” in One Box Only)                               III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an “X” in One Box for Plaintiff
                                                                                              (For Diversity Cases Only)                                   and One Box for Defendant)
                                                                                                                       PTF        DEF                                     PTF      DEF
                                       (U.S. Government Not a Party)                                                                                 or


                                                                                                                                                     and
                                       (Indicate Citizenship of Parties in Item III)




IV. NATURE OF SUIT (Place an “X” in One Box Only)
         CONTRACT                                         TORTS                             FORFEITURE/PENALTY                       BANKRUPTCY                 OTHER STATUTES
                                PERSONAL INJURY                 PERSONAL INJURY



                                                                                                                                PROPERTY RIGHTS




                                                                                                     LABOR                      SOCIAL SECURITY
                                                              PERSONAL PROPERTY




        REAL PROPERTY             CIVIL RIGHTS               PRISONER PETITIONS                                                 FEDERAL TAX SUITS
                                                              Habeas Corpus:




                                                                                                IMMIGRATION
                                                                Other:




V. ORIGIN (Place an “X” in One Box Only)

                                                                                                                   (specify)
                                                                                            (Do not cite jurisdictional statutes unless diversity)

VI. CAUSE OF ACTION

VII. REQUESTED IN                                                 CLASS ACTION              DEMAND $
     COMPLAINT:                                                                                                                         JURY DEMAND:
VIII. RELATED CASE(S)
      IF ANY                        (See instructions):




FOR OFFICE USE ONLY
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                  INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44




I.(a)   Plaintiffs-Defendants.


  (b)   County of Residence.


  (c)   Attorneys.


II.     Jurisdiction.




                                                        .            ; NOTE: federal question actions take precedence over diversity
        cases.

III.    Residence (citizenship) of Principal Parties.


IV.     Nature of Suit.



V.      Origin.




VI.     Cause of Action.                                                                                       Do not cite jurisdictional
        statutes unless diversity.

VII.    Requested in Complaint.



VIII. Related Cases.


Date and Attorney Signature.
